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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                       Mark Fitzhenry
                            Plaintiff                                  )
                            v.                                         )      Civil Action No.      2:12-cv-3510-CWH
    ISI Alarms NC Inc. d/b/a Security Promotions,                      )
     W. Jayson Waller, Kevin Klink, Monitronics                        )
           International, Inc., and John Doe,                          )
                       Defendants

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                   recover from the defendant (name)              the amount of                dollars ($   ),
which includes prejudgment interest at the rate of            %, plus postjudgment interest at the rate of           %, along with
costs.
’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                            .
 other: having adopted the Report and Recommendations of United States Magistrate Judge Bristow Marchant,
Plaintiff’s complaint is dismissed without prejudice pursuant to Rule 4 (m) of the Federal Rules of Civil Procedure.


This action was (check one):
’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

 decided by the Honorable C. Weston Houck, United States District Judge.


Date: May 22, 2013                                                           CLERK OF COURT


                                                                                                   s/ V. Druce
                                                                                         Signature of Clerk or Deputy Clerk
